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           EXHIBIT 2
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        1           IN THE UNITED STATES DISTRICT COURT
        2         FOR THE SOUTHERN DISTRICT OF ILLINOIS
        3

        4                 CIVIL ACTION NO. 17-CV-793-MJR-SCW
        5

        6    IN RE: DEPAKOTE CASES
        7    A.S. by MARTHEE SANSONE, ET AL.,
        8                       Plaintiff,
        9    vs.
       10    ABBOTT LABORATORIES, INC.,
       11                       Defendant.
       12

       13

       14

       15                              DEPOSITION
       16                                    OF
       17                    NATHANIEL H. ROBIN, M.D.
       18                         December 8, 2017
       19

       20

       21

       22

       23    REPORTED BY: Heather Spier
       24                         Certified Court Reporter,
       25                         and Notary Public
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        1    is a little trickier.                I'm not --
        2    Asperger's doesn't necessarily mean a
        3    learning disability.               It could just be a
        4    personality issues.
        5              Q.       We can agree that autism and
        6    ADHD are learning disabilities?
        7              A.       Yes.
        8              Q.       You say in your report in
        9    Paragraph 3.1 on Page 4, Doctor, that
       10    A.S.       's older brother was delivered as a
       11    healthy baby boy and has no malformations
       12    or learning disabilities.
       13              A.       Yes.      That was based on the
       14    records I reviewed.               And I subsequently
       15    learned through Dr. Braddock's -- and I
       16    asked about that, that he commented that
       17    the child had -- the sibling had
       18    Asperger's.          So I asked about that, and
       19    that was confirmed.               That wasn't available
       20    in the records I initially reviewed.
       21              Q.       Well, Marthee Sansone in her
       22    deposition said that her older son has
       23    Asperger's, autism and ADHD --
       24              A.       And I must have missed it.
       25              Q.       So that's a factual error in
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        1    your report?
        2              A.       Factual error.
        3              Q.       A.S.       's older brother also
        4    has special education and individualized
        5    educational program as well, right?
        6              A.       Yes.
        7              Q.       Both of which would indicate a
        8    learning disability?
        9              A.       Yes.
       10              Q.       Does a sibling having a
       11    learning disability have any relevance to
       12    your opinions regarding causation of any
       13    learning disabilities that A.S.                         may
       14    have?
       15              A.       So there are several
       16    possibilities.            One is that they do share
       17    a genetic issue.             Second, they could be
       18    exposed to same environmental agent.                          In
       19    this case I was told they were supposed to
       20    valproic acid.
       21              Q.       You make a point of showing
       22    that the dosage was 500 milligrams per day
       23    for the older brother, right?
       24              A.       Yes.
       25              Q.       And I presume you made that
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        1    point because that was less than A.S.
        2    was exposed to?
        3                       MS. WILLIAMSON:            Object to the
        4    form.
        5              A.       I don't recall.
        6              Q.       Do you intend to be offering
        7    any opinions at trial about dose response
        8    and valproic acid embryopathy?
        9              A.       No.
       10              Q.       You acknowledge in your report
       11    that Ms. Sansone smoked a pack of
       12    cigarettes per day during her pregnancy
       13    with A.S.          ?
       14              A.       Yes.
       15              Q.       You read her deposition?
       16              A.       Yes.      I don't recall every
       17    detail, but I remember she said she
       18    smoked.
       19              Q.       Do you remember she actually
       20    disputed a medical record that said she
       21    was smoking a pack per day?
       22              A.       I remember something about
       23    that, yeah.
       24              Q.       Did you happen to see any
       25    medical records that, in fact, confirmed
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        1                      C E R T I F I C A T E
        2

        3

        4    STATE OF ALABAMA
        5    MADISON COUNTY
        6

        7                       I hereby certify that the
        8    above and foregoing deposition was taken
        9    down by me in stenotypy, and the questions
       10    and answers thereto were reduced to
       11    typewriting under my supervision, and that
       12    the foregoing represents a true and
       13    correct transcript of the deposition given
       14    by said witness upon said hearing.
       15                       I further certify that I am
       16    neither of counsel nor of kin to the
       17    parties to the action, nor am I in anywise
       18    interested in the result of said cause.
       19

       20

       21              Heather Spier
       22              COMMISSIONER-NOTARY PUBLIC
       23              ACCR LICENSE NO. 403, Exp. 9/30/2018
       24

       25

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